         Case 1:12-cr-00310-DAD-BAM Document 112 Filed 12/04/14 Page 1 of 1



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 3
                             UNITED STATES DISTRICT COURT
 4                          EASTERN DISTRICT OF CALIFORNIA
 5                            (Hon. Magistrate Barbara McAuliffe)
 6
     UNITED STATES OF AMERICA,                        CASE NO. 12-CR-00310-AWI-BAM
 7
 8                       Plaintiff,
                                                      ORDER CONTINUING STATUS
 9         vs.                                        CONFERENCE HEARING
10
     JUAN MANUEL RODRIGUEZ, et al.
11
12                       Defendants.
13
14        GOOD CAUSE appearing with the filing of a Stipulation by all the parties (Doc.
                                         th
15 111), it is hereby ordered that the 12 Status Conference hearing for all Defendants in
16 the above-referenced case currently scheduled for December 8, 2014 at 1:00 p.m. is
17 continued to January 26, 2014 at 1:00 p.m. before Judge McAuliffe.
18        It is further ordered that all time between the date of this order and January 26,
19 2015, is excluded pursuant to Title 18 U.S.C. section 3161 (The Speedy Trial Act).
20
21
     IT IS SO ORDERED.
22
23     Dated:    December 4, 2014                  /s/ Barbara A. McAuliffe        _
                                              UNITED STATES MAGISTRATE JUDGE
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